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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TEXAS,
AUSTIN DIVISION

Dell Inc.,
Plaintiff,
Vv. Civil Action No. 1:16-cv-641-SS

Raj Mishra et al.,
Defendant.

(02 60) (0) 9) GN 60) GH)

GAURAV SHARMA’S MOTION TO QUASH SUBPOENA
Gaurav Sharma respectfully asks the Court to quash Plaintiff Dell Inc.'s subpoena.
A. INTRODUCTION

1. Plaintiff is Dell, Inc.; Defendants are Raj Mishra and Tech Fixing Center LLC
(collectively, “Defendants"). Movant, Gaurav Sharma, is a non-party to the litigation
between the parties.
2. Dell, Inc. (“Dell”) sued several Defendants for trademark infringement, false
designation of origin and unfair competition, and fraud, alleging that Defendants and their
agents used “Dell’s registered trademarks and service marks in commerce in connection
with a technical support scam” by falsely holding themselves out as affiliated with Dell to
sell technical support products.
3. Plaintiff subpoenaed records from Microsoft Corporation regarding several email
addresses, dubbed “Offending Email Addresses,” among which _ included
“g.sharma@outlook.com,” which is the email address of Gaurav Sharma. The subpoena
requested the following information:

1. Documents sufficient to identify the creator(s), owner(s), and/or

user(s) of the Offending Email Addresses, including but not limited
to documents that provide names, mailing addresses, phone

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numbers, billing information, date of account creation, recovery email
address, account information and all other identifying information
associated with the Offending Email Addresses.
2. All documents related to the usage of the Offending Email
Addresses, including but not limited to documents that provide
Internet Protocol logs, Internet Protocol address information at the
time of registration and subsequent usage, computer usage logs, g-
mail log files, or other means of recording information concerning the
email or Internet usage of each of the Offending Email Addresses.
3. Documents sufficient to show any and all domain names currenily
registered to the creator(s), owner(s), or user(s) of the Offending
Email Addresses for which Respondent is the registrar or website
host.
4. All documents related to contracts and/or agreements between
Respondent and the creator(s), owner(s), or user(s) of the Offending
Email Addresses.
The subpoena defined “document” expansively, “in the broadest possible sense, and
includes “e-mail” and “written communications” in document's definition. A copy of the
subpoena is attached as Exhibit 1.
4, After being served with the subpoena, Microsoft Litigation Policy Enforcement
contacted Gaurav Sharma, requiring him to take legal action by February 5, 2018, if he
wanted to challenge the subpoenaed information.
5. Gaurav Sharma asks that the Court quash the subpoena, as it is unduly
burdensome.
B. ARGUMENT

6. A court must, on timely motion, quash or modify a subpoena if the subpoena

subjects a person to undue burden. See Fed. R. Civ. Proc. 45(c)(3)(A), 45(d)(1)(D).
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7. Defendant Sharma files this motion before the time to comply. See Fed. R. Civ.
Proc. 45(c)(3)(A); Estate of Ungar v. Palestinian Auth., 451 F. Supp. 2d 607, 610
(S.D.N.Y. 2006).

8. This Court must quash Plaintiff Dell Inc.’s subpoena because the subpoena is
overbroad and subjects non-party Sharma to an undue burden. Fed. R. Civ. Proc.
45(c)(3)(A)(iv). “Whether a burdensome subpoena is reasonable must be determined
according to the facts of the case, such as the party’s need for the documents and the
nature and importance of the litigation.” Wiwa v. Royal Dutch Petroleum Co., 392 F.3d
812, 818 (5th Cir. 2004) (internal quotation marks omitted). The Court may find that a
subpoena imposes an undue burden when the subpoena is facially overbroad. /d. The
Court may also consider the expense and inconvenience of a responding to a subpoena
to a non-party. /d.

9. in re Subpoena Duces Tecum fo AOL, LLC and Theofel v. Farey-Jones are
instructive as to the scope of subpoenas requesting electronic information, as Plaintiff
does here. In Subpoena Duces Tecum to AOL, LLC, State Farm subpoenaed AOL,
requesting documents from the Rigsby’s, AOL users, relating to State Farm’s and
insurance adjuster’s claims handling processes relating to Hurricane Katrina over a ten-
month period, as well as “any and all documents, including electronically stored
information, related to Cori Rigsby’s e-mail account or address” for a six-week period. /n
re Subpoena Duces Tecum to AOL, LLC, 550 F. Supp. 2d 606, 608 (E.D. Virginia 2008).
The Rigsby’s moved to quash the subpoena, arguing among other things that the

subpoena was overbroad and unduly burdensome.
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10. |The Court found that the subpoena was unduly burdensome and overbroad, as it
did not limit the e-mails requested to “those containing subject matter relevant to the
underlying action or sent to or from employees connected to the litigation.” /d. at 612.
Even though the subpoena had limited the request to a six-week time period, the
subpoena would require production of emails including “personal information unrelated”
to the litigation. /d.
11. In Theofel, the defendant issued a subpoena during the course of discovery
requesting “all copies of e-mails sent or received by anyone’. . . with no limitation as to
time or scope.” Theofel v. Farey-Jones, 359 F.3d 1066, 1071 (9th Cir. 2004). The
magistrate judge found the subpoena to be “massively overbroad” and “patently unlawful”
because it was not limited as to time or scope. The 9th Circuit Court of Appeals affirmed,
finding the subpoena to be overbroad and an undue burden. /d. at 1071, 1079.
12. Here, none of the subpoenaed information requested of Microsoft, and thus
Gaurav Sharma, was limited in time or scope. The requests are so broad as to include
information that is personal and unrelated to the litigation. Moreover, none of the requests
are made for a specific time period. The production of this information will also likely be
costly and require hiring someone to manage the information. Complying with the
subpoena will impose an undue burden on non-party Sharma.
C. CONCLUSION

The subpoena is not limited in time or scope and places an undue burden on Mr.

Sharma as a non-party. For the reasons stated above, Gaurav Sharma respectfully asks

this Court to grant his Motion to Quash.
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PRAYER
WHEREFORE, PREMISES CONSIDERED, Gaurav Sharma, a non-party to the

current litigation, respectfully requests that this Court grant his Motion to Quash
Subpoena, and for such other and further relief at law and in equity to which Gaurav
Sharma may show himself justly entitled.

Respectfully submitted,

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ATTORNEYS FOR NON-PARTY
GAURAV SHARMA
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CERTIFICATE OF SERVICE
| certify that on February 6 , 2018, a copy of Gaurav Sharma’s Motion to Quash
Subpoena was electronically filed on the CM/ECF system, which will automatically serve

a Notice of Electronic Filing, and by facsimile and e-mail to “litenfo@microsoft.com”-at~

es

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